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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                       )
UNITED STATES OF AMERICA,              )
                                       )
                                       )
                  v.                   ) Case No. 21-cr-92-TNM
                                       )
                                       )
COUY GRIFFIN,                          )
                                       )
     Defendant.                        )
                                       )

              SENTENCING MEMORANDUM OF COUY GRIFFIN
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Introduction

       The Court acquitted Griffin of a disorderly conduct charge and found him guilty of

knowingly entering an area restricted for the protection of a U.S. Secret Service protectee.

Griffin regrets his decision to climb on the inaugural platform. To the extent his presence there

contributed to the distress of outnumbered law enforcement officers, he offers them his sincere

apology. Though he is of limited means, Griffin would seize an opportunity to offer assistance

to injured officers and to contribute to the repair of physical damage to the Capitol. Griffin vows

to never again enter a restricted area, at the Capitol or anywhere else.

       Griffin asks the Court to bear in mind that he has already incurred serious penalties.

Arrested on the mistaken premises that he entered the Capitol Building and intended to bring

firearms to Washington, D.C., he was held pretrial in solitary confinement for weeks on a

misdemeanor charge. The toilet in his cell had seen better days. Corrections officers snapped

pictures of him, apparently destined for social media. Above all, perhaps, private parties have

taken this Court’s sentencing prerogative into their own hands, filing lawsuits to remove and

permanently ban Griffin from office under Section Three of the Fourteenth Amendment. They

contend that because this Court found Griffin guilty of unlawfully entering a restricted area he

thus engaged in insurrection or rebellion against the United States. Even if that baseless claim

does not succeed, the lawsuits themselves will grind through his meager resources. Meanwhile,

Wild West-style wanted posters now dot Griffin’s hometown in New Mexico. “Cowboys for

Trump Founder—January 6 Terrorist.” Griffin can hardly appear at the supermarket without

encountering some heavy breather threatening violence by way of introduction.

       This Court’s average sentence for Griffin’s misdemeanor offense is two months’

probation. In light of the penalties he has already paid, and to avoid unwarranted sentence



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disparities, Griffin respectfully requests that the Court impose a sentence no higher than that

average.

Factual background

       A.      Griffin’s background, family, employment history, and character

       Griffin once rode his horse from San Francisco to Jerusalem. The journey on horseback

took him over a year. To those who know the New Mexican, this was completely in character.

A sentencing memorandum cannot fully capture such a person.

       Raised on a cattle ranch in New Mexico, Griffin, now 48, rodeoed for a living until he

received a job offer from Disneyland Paris. For the next five years the City of Light saw the

cowboy perform as le cow-boy in the Buffalo Bill Wild West Show. To those skeptics who

might object that the gunslinging genuine article surely did not utter a single French mot, as

Griffin learned to do, it must be recalled that when the legendary bison hunter’s original Wild

West show performed at the Exposition Universelle in 1889, it drew crowds that rivaled those

admiring the Eiffel Tower, simultaneously unveiled nearby. The Eiffel Tower during the 1889

Exposition Universelle, available at: https://www.toureiffel.paris/en/the-monument/universal-

exhibition.

       After returning from Paris, Griffin occupied the role of pastor for a few years at New

Heart Cowboy Church in Alamogordo, New Mexico. Ultimately, however, his pivot from the

Wild West Show would be to a not unrelated field of secular endeavor. Griffin ran, and

sometimes he rode, for political office. Since January 2019, Griffin has held the office of

County Commissioner for Otero County, New Mexico. In that role he is a fiscal agent for the

county, funding different departments. Griffin’s term in office concludes on December 31, 2022.

To supplement his minimal officeholder income, Griffin performs stone masonry work on



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construction projects. Now divorced, Griffin has a seven-year-old son over whom he and his

former spouse share custody.

       For all the controversy surrounding him in New Mexico politics, counsel finds Griffin to

be earnest, of good cheer in adversity and shrewd. While he is occasionally prone to impulsive

decision-making and crude commentary, experience with him suggests that if given time to

reflect, Griffin will correct himself on his own. One won’t catch Griffin performing the Ascot

Gavotte but since when have cowboys been known for their polish?

       B.      The misdemeanor conviction and presentence investigation report

       As the Court knows, the government charged Griffin with two misdemeanors: knowingly

entering a restricted area without lawful authority, 18 U.S.C. § 1752(a)(1); and engaging in

disorderly and disruptive conduct in the restricted area. § 1752(a)(2).

       After a bench trial, the Court acquitted Griffin of disorderly conduct and found him guilty

of unlawfully entering the restricted area. 3/22/2022 Judgment.

       As the presentence investigation report (PSR) indicates, the Guideline for § 1752(a)(1) is

U.S.S.G. §2B2.3. PSR, p. 13. The base offense level is four, U.S.S.G. §2B2.3(a), and two levels

are added because the trespass occurred at a restricted building or grounds. U.S.S.G.

§2B2.3(b)(1)(A)(vii).

       The total offense level is thus 6. PSR, p. 13. The statutory maximum for this Class A

misdemeanor is one year of imprisonment and the Guidelines range is zero to six months. Id. at

23. Any term of supervised release may not last more than one year. 18 U.S.C. § 3583(b)(3).

Griffin is eligible for up to five years’ probation. 18 U.S.C. § 3561(c)(2). The PSR states that

“[i]f probation is imposed, the term shall be at least one year but not more than five years if the

offense level is six or greater.” PSR, p. 24 (citing U.S.S.G. §5B1.2(a)(1)). However, as noted



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below, this is a Guidelines provision, not a statutory rule, and is therefore merely advisory, not

binding on the Court.

Argument

I.     Sentencing procedure

       As it knows, the Court has broad discretion to consider nearly every aspect of a particular

case, and a particular defendant, in fashioning an appropriate sentence. United States v. Booker,

543 U.S. 220 (2005); Gall v. United States, 552 U.S. 38 (2007); Kimbrough v. United States, 552

U.S. 85 (2007). Although the Court must first calculate the appropriate sentencing range under

the Guidelines, it is not bound by the Guidelines or Guidelines Policy Statements. It may make

its own policy judgments, even if different from those in the Guidelines. Kimbrough, 552 U.S. at

101.

       The Court must merely impose a sentence consistent with the terms of 18 U.S.C. §

3553(a) and § 3661. As the Court knows, the cardinal requirement of § 3553(a) is that the “court

shall impose a sentence sufficient, but not greater than necessary to comply with the purposes of

[§ 3553(a)]. . .” § 3553(a).

II.    The § 3553(a) factors favor a significant downward variance

       A.      The nature and circumstances of the offense and the history and
               characteristics of the defendant (§ 3553(a)(1))

       A number of considerations under § 3553(a)(1) warrant a significant downward variance 1

in Griffin’s case: (1) several factors distinguish the typical § 1752 case from Griffin’s; (2) after

Griffin was found guilty of entering the restricted area despite not entering the Capitol Building,




1
  Since Griffin’s Guidelines range already includes a sentence of zero months of incarceration
(zero to six months), his arguments for a “downward variance” should be read as seeking a
sentence of no more than two months’ probation.
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the Court acquitted a protester of the same charge even though that defendant did enter the

building; (3) Griffin’s first-time offender status; and (4) Griffin’s remorse.

               1.      The typical § 1752 prosecution does not look like Griffin’s

       Along a number of levels, Griffin’s prosecution was unlike most, or all, § 1752 charges

brought before January 6.

       First, although the Court denied Griffin’s motion-to-dismiss argument that a § 1752

restricted area is one restricted by the U.S. Secret Service by definition, United States v. Griffin,

549 F. Supp. 3d 49, 56-58 (D.D.C. 2021), it is nevertheless the case that no prosecution before

January 6 had ever involved an area restricted by any other entity. If the trial testimony of

Officer John Erickson of the U.S. Capitol Police and Inspector Lanelle Hawa of the U.S. Secret

Service did not conclusively demonstrate that it was the U.S. Capitol Police and not the U.S.

Secret Service that set the restricted area on January 6, the testimony from both witnesses

nevertheless tended to indicate that it is almost always the case that the Secret Service is the

entity that sets restricted areas for its protectees. 2 Inspector Hawa’s testimony—and video

evidence depicting a distinct USSS-restricted area near the Ellipse on January 6—also showed

that, in the ordinary case, the perimeters of such areas are manned by Secret Service agents or at

least other law enforcement officers acting at the direction of the Secret Service. This is a

mitigating distinction because in the typical § 1752 case, the intruding defendant has been

verbally warned by Secret Service agents, or others acting at their direction, that he is entering a

restricted area without permission. E.g., United States v. Bursey, 416 F.3d 301, 304 (4th Cir.

2005) (defendant warned by Secret Service agents that he was unlawfully present in a restricted



2
  By “sets restricted areas” Griffin does not refer to the physical labor involved in erecting
fencing or barriers but to the decision-making process that determines the size and scope of the
restricted area and determines who may enter it.
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area). Here, the Court will recall that Griffin had no interactions with law enforcement before or

after he entered the restricted area; none were posted at the stone wall which demarcated the

legal boundary. Snow fencing that was also said to demarcate the boundary lay on the ground at

the time Griffin passed near it.

       Second, by the time Griffin entered the restricted area, the sole USSS protectee at issue—

the vice president—had been removed to an underground bunker. To Griffin’s knowledge, there

had never been a § 1752 prosecution before January 6 where the defendant and protectee were

said to have occupied the same “building or grounds,” § 1752(c)(1)(B), even though the latter

remained underground in a “sensitive location” to which members of the public had no access

and the former stood in an outdoor public space, hundreds of feet above. Because the function of

§ 1752 is to prevent members of the public from coming too close to a protectee, this distinction

is mitigating. Griffin came nowhere near the vice president. Nor could Griffin’s entry into the

restricted area have caused the vice president’s departure from the Capitol, thanks to Griffin’s

arrival on the scene after 2:30 p.m.

       Third, the typical § 1752 prosecution involves a defendant who enters the restricted area

because the protectee is there. Before January 6, the statute had not been used as an all-purpose

federal trespass law to punish the act of entering a restricted area even where it is unmotivated by

anything to do with the protectee. Consider Bursey again. Bursey wanted to protest the Iraq war

in the area where President Bush would be, because President Bush would be there. Bursey, 416

F.3d at 305. The president was the defendant’s intended audience. Here, by contrast, some

evidence suggested that Griffin was under the impression that the USSS protectee was no longer

present at the Capitol by the time he arrived there. No evidence, in any case, indicated that

Griffin’s purpose in being in the area was driven by the protectee’s presence specifically. This



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distinction is mitigating, as a defendant who enters a restricted area in order to be closer to, say,

the president poses a far more serious security problem than the defendant who enters that area

for some reason other than the protectee’s incidental presence.

        Fourth, the typical § 1752 restricted area does not attempt to preclude access to a First

Amendment public forum. Here, by contrast, the West Front of the U.S. Capitol, where Griffin

led a prayer, is a public forum. Jeannette Rankin Brigade v. Chief of Capitol Police, 342 F.

Supp. 575 (D.D.C. 1972) (three-judge panel) sum. aff’d 409 U.S. 972 (1972). Thus, Griffin had

a right to “assemble in the Capitol Grounds.” Id. at 583. Griffin also had the right to make

speeches that have “the intent, effect, or propensity to attract a crowd or onlookers.” Lederman v.

United States, 291 F.3d 36, 39 (D.C. Cir. 2002).

                2.        The court’s judgment in United States v. Martin

        About a week after Griffin’s trial, the Court presided over the trial in United States v.

Martin, 21-cr-394 (D.D.C. 2021). Like Griffin, Martin was charged with entry into a restricted

area and disorderly conduct there under § 1752(a). However, unlike Griffin, Martin entered the

Capitol Building. Martin was acquitted of all charges. Martin, 4/6/22 Judgment of Acquittal.

        Griffin understands that Martin testified at trial that his interactions with law enforcement

inside the Capitol Building led him to believe that he was lawfully authorized to enter the

building and that the Court found Martin’s testimony credible even if it did not agree that,

objectively, the officers in question authorized Martin’s entrance. Griffin did not offer similar

testimony in his trial.

        At the same time, the government’s position is that the restricted area on January 6

extended well beyond the Capitol Building itself, encompassing much of the Capitol Grounds.

In order for Martin to enter the building, he had to pass through the restricted area grounds, just



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as Griffin did, before he interacted with law enforcement inside. Here, it is important to recall

the categories of evidence the Court cited in concluding that the government established, beyond

a reasonable doubt, that Griffin knew the outdoor area he entered was restricted. This included

images depicting “the various barriers on the west front of the lawn [which] were clearly visible,

including snow fencing with signs saying that the area was closed.” 3/22/22 Tr., pp. 325-26. The

Court found that the appearance of the snow fencing put Griffin on notice, together with

evidence suggesting that Griffin “smelled OC spray” in the area, climbed over a stone wall, and

scaled an emergency exit staircase onto the inaugural platform. Id. at 334. Perhaps unlike the

defendant in Martin, Griffin made two statements following January 6 “admitting that the area

had been cordoned off and that police were telling people to stay away.” Id. at 335. (That said,

no evidence showed that Griffin in fact observed law enforcement officers telling people to stay

away. To the contrary, the only testimony on this subject from government witness Matt Struck

was that Griffin had no interactions with law enforcement the entire day of January 6.).

       Nevertheless, it is difficult to see how any protester could have reached the point of

entering the Capitol on the west side of the building on January 6 without encountering many of

the general red flags cited by the Court such as snow fencing (even downed fencing), barriers,

and the smell of OC spray.

       Griffin does not suggest that the defendant in Martin is guilty. Instead, his point is that

the distinction between guilt and innocence in these cases appears to be a subtle rather than

egregious one. In most January 6 cases, the act of entering the building is considered more

serious than protest outside it, which is why the overwhelming majority of those charged did

enter the building. This too is a significant mitigating factor.




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               3.      First-time offender status and atypical conduct

       The fact that Griffin is a first-time offender, and that the offense conduct is atypical for

him, is an appropriate basis for a downward variance. United States v. Huckins, 529 F.3d 1312,

1317 (10th Cir. 2008) (affirming that district court’s downward variance from 60-to-79-month

range to below the calculated Guidelines range was reasonable and permissibly took into account

the defendant’s lack of a criminal record); United States v. Munoz-Nava, 524 F.3d 1142, 1143

(10th Cir. 2008) (downward variance to one year imprisonment and one year home confinement

from recommended Guidelines range of 65-78 months imprisonment supported by district

court’s finding of several factors including that defendant had no felony criminal record and his

offense was “highly out of character”); United States v. Tomko, 562 F.3d 558, 560 (3d Cir. 2009)

(affirming probationary sentence based partly on defendant’s “negligible criminal history”).

       That the Guidelines already take into account Griffin’s lack of criminal history does not

mean that it is inappropriate for the Court to vary downward on the same basis. See United

States v. Ransom, 756 F.3d 770, 775 (D.C. Cir. 2014) (“[I]t is not error for a district court to

enter sentencing variances based on factors already taken into account by the Advisory

Guidelines . . . when a district court applies broader § 3553(a) considerations in granting [a

sentencing] variance.”).

               4.      Griffin’s remorse

       A defendant’s true remorse, whether exceptional or not, is a valid basis for a downward

variance. And district courts may vary downward based on remorse even where the acceptance

of responsibility adjustment under U.S.S.G. §3E1.1 does not apply because the defendant

exercised his right to trial. E.g., United States v. Howe, 543 Fed. 3d 128, 138 (3d Cir. 2008).




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       As explained above, Griffin deeply regrets his decision to climb on the inaugural

platform and enter the restricted area. To the extent his presence there contributed to the distress

of outnumbered law enforcement officers, he offers them his sincere apology. Though he is of

limited means, Griffin would seize an opportunity to offer assistance to injured officers and to

contribute to the repair of physical damage to the Capitol. Griffin will personally demonstrate

remorse at sentencing in his allocution.

       B.      Avoiding unwarranted sentence disparities (§ 3553(a)(6))

       Section 3553(a) requires courts to fashion a sentence in a way that avoids “unwarranted

sentence disparities among defendants with similar records who have been found guilty of

similar conduct.” § 3553(a)(6).

       Among thousands of January 6 protesters, Griffin appears to be the only one charged

under § 1752 who neither entered the Capitol Building nor committed a felony offense outside it.

Moreover, before January 6 the government had never used § 1752 to prosecute protesters like

Griffin at the Capitol even when U.S. Secret Service protectees were present. The Court has

already indicated these factors may be “relevant at sentencing” in the context of avoiding

unwarranted sentence disparities. Griffin, 549 F. Supp. 3d at 59.

       The Court was surely right. Before comparing Griffin’s case to those of other convicted

January 6 protesters, it is well to begin with thousands of similarly situated people who were

never charged at all, on January 6 and in prior episodes of protest at the Capitol. As the

government’s response to Griffin’s selective protection motion showed, it is undisputed that on

January 6 Griffin was surrounded by hundreds of protesters who have not been charged under §

1752 or with any other crime. The government could not identify any principled basis for

distinguishing Griffin’s actions from those of the others in the context of § 1752. ECF No. 71



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(not identifying any reason why Griffin entered the restricted area but not the protesters

surrounding him who stretch to the horizon in photographs of the scene). If it is essential to

avoid unwarranted sentence disparities “among defendants with similar records who have been

found guilty of similar conduct,” § 3553(a)(6), it is surely no less important to reduce the

punishment of one who is found guilty of conduct which hundreds of people committed without

facing charges much less punishment.

       The Court must also avoid sentence disparities between January 6 cases and prior

episodes of unruly protest at the Capitol. Just one example, which Griffin previously raised with

the Court, are the “numerous uncharged protestors who broke through USCP barricades to

occupy the Capitol steps on the eve of Justice Kavanaugh’s Senate confirmation vote.” Griffin,

549 F. Supp. 3d at 59 (citing Kavanaugh Protesters Ignore Capitol Barricades Ahead of

Saturday Vote, Roll Call, Oct. 6, 2019, https://www.rollcall.com/2018/10/06/kavanaugh-

protesters-ignore-capitol-barricades-ahead-of-saturday-vote/). Just as on January 6, a USSS

protectee—the vice president—was “temporarily visiting,” § 1752(c)(1)(B), during the

Kavanaugh protesters’ breach. Kavanaugh is sworn in after close confirmation vote in Senate,

N.Y. Times, Oct. 6, 2019, available at: https://www.nytimes.com/2018/10/06/us/politics/brett-

kavanaugh-supreme-court.html. Not one of these protesters was charged under § 1752. To the

extent they were charged with anything, it was pursuant to the district’s “post and forfeit”

procedure, whereby the protester pays a fine between $25-$100, after which the case is dropped.

Know your rights: Demonstrations in D.C., ACLU, available at:

https://www.acludc.org/en/know-your-rights/know-your-rights-demonstrations-dc. A sentence

of greater than two months’ probation would create unwarranted sentence disparities with the

Kavanaugh protesters.



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       Then there are the sentences of convicted January 6 protesters. Considering just this

Court’s sentences alone, a sentence of longer than two months’ probation would create

unwarranted disparities. For this Court has given that sentence, or at least some probationary

sentence, to many defendants who, unlike Griffin, entered the Capitol Building:

       •       United States v. Jenny Cudd, 21-cr-68 (D.D.C. 2021) (two months’ probation for

               § 1752 conviction);

       •       United States v. Damielle Doyle, 21-cr-324 (D.D.C. 2021) (two months’

               probation for disorderly conduct and entry);

       •       United States v. Andrew Ericson, 21-cr-506 (D.D.C. 2021) (24 months’ probation

               for parading in the Capitol Building);

       •       United States v. Rachel Pert, 21-cr-139 (D.D.C. 2021) (24 months’ probation for

               parading in the Capitol Building);

       •       United States v. Eliel Rosa, 21-cr-68 (D.D.C. 2021) (12 months’ probation for

               parading in the Capitol Building);

       •       United States v. Dana Joe Winn, 21-cr-139 (D.D.C. 2021) (12 months’ probation

               for parading in the Capitol Building);

       •       United States v. William Blauser, 21-cr-386 (D.D.C. 2021) (a non-incarceration

               sentence for parading in the Capitol Building);

       •       United States v. Sean Cordon, 21-cr-269 (2 months’ probation for parading in the

               Capitol Building).

       But the January 6 sentences imposed by other judges in this district also suggest that a

sentence of incarceration would create unwarranted sentence disparities. Many of the following




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defendants engaged in conduct inside the Capitol Building far more serious than Griffin’s

outside it:

 1/6 Def. & Case No.     Charge                  Sentence                Offense Conduct
 Josh & Jessica          Parading in Capitol     24 mos. probation       Entered Capitol
 Bustle, 21cr238                                 and 24 mos.             Building, remained
                                                 supervised release      for 20 minutes.
                                                                         Posted on Facebook,
                                                                         “Pence is a traitor.
                                                                         We stormed the
                                                                         capital (sic). . . We
                                                                         need a revolution!”
 Bryan Ivey, 21cr267     Parading in Capitol     36 mos. probation       Entered Capitol
                                                                         Building through a
                                                                         breached window,
                                                                         waving additional
                                                                         rioters into the
                                                                         building, spending 30
                                                                         minutes inside.
 Valerie Ehrke,          Parading in Capitol     36 mos. probation       Entered Capitol
 21cr97                                                                  Building.
 Andrew Bennett,         Parading in Capitol     3 mos. home             Entered the Capitol
 21cr227                                         confinement, 24 mos.    Building,
                                                 probation               livestreaming the
                                                                         event on his
                                                                         Facebook page for
                                                                         over an hour.
 Lori, Thomas Vinson, Parading in Capitol        5 years probation,      Entered the Capitol
 21cr355                                         120 hours of            Building, later telling
                                                 community service       news outlet that her
                                                                         actions were
                                                                         “justified” and that
                                                                         she would “do this all
                                                                         over again.”
 Jordan Stotts,          Parading in Capitol     24 mos. probation       Entered the Capitol
 21cr272                                                                 Building, remained
                                                                         inside for an hour,
                                                                         celebrating with
                                                                         others and taking
                                                                         videos with his cell
                                                                         phone.
 Glen Croy, 21cr162      Parading in the         36 mos. probation       Entered the Capitol
                         Capitol                                         Building. Chief Judge
                                                                         suggested at plea
                                                                         hearing that parading

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                                                              offense is not
                                                              conceptually different
                                                              from government’s
                                                              obstruction of justice
                                                              charge under §
                                                              1512(c)(2)
Douglas Sweet,        Parading in the   36 mos. probation     Entered the Capitol
Cindy Fitchett,       Capitol                                 Building, Fitchett
21cr41                                                        filming herself
                                                              saying, “We are
                                                              storming the Capitol.
                                                              We have broken in.”
Eric Torrens, 21cr204 Parading in the   36 mos. probation     Entered the Capitol
                      Capitol                                 Building, taking
                                                              celebratory pictures
                                                              in the Crypt.
Rasha Abdual-         Parading in the   36 mos. probation     Entered the Capitol
Ragheb, 21cr42        Capitol                                 Building, desiring to
                                                              demonstrate against
                                                              Congress.
Jonathan Sanders,     Parading in the   36 mos. probation, 60 Entered the Capitol
21cr384               Capitol           hours community       Building, intending to
                                        service               protest presidential
                                                              election
Michael Orangias,     Parading in the   36 mos. probation     Entered the Capitol
21cr265               Capitol                                 Building, taking
                                                              pictures inside.
John Wilkerson,       Parading in the   36 mos. probation, 60 Entered the Capitol
21cr302               Capitol           hours of community    Building, posting on
                                        service               social media, “today
                                                              was a good day, we
                                                              got inside the
                                                              Capitol.”
Brandon Nelson,       Parading in the   24 mos. probation     Entered the Capitol
21cr344               Capitol                                 Building, co-
                                                              defendant texting,
                                                              “We stormed the
                                                              Capitol and shut it
                                                              down. Currently still
                                                              inside” and “Patriots
                                                              won’t go down
                                                              without a fight.”
Andrew Wrigley,       Parading in the   18 mos. probation     Entered the Capitol
21cr42                Capitol                                 Building, taking
                                                              pictures of himself
                                                              inside

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Jacob Hiles, 21cr155   Parading in the         24 mos. probation      Entered the Capitol
                       Capitol                                        Building, taking
                                                                      pictures showing him
                                                                      smoking “an
                                                                      unknown substance”
                                                                      inside.
Bruce Harrison,        Parading in the         24 mos. probation      Entered the Capitol
21cr365                Capitol                                        Building, taking
                                                                      pictures of himself
                                                                      inside.
Terry Brown, 21cr41    Parading in the         36 mos. probation      Entered the Capitol
                       Capitol                                        Building, disobeyed
                                                                      police order to leave.
Felipe Marquez,        Disorderly conduct in   18 mos. probation      Entered the
21cr136                the Capitol                                    “hideaway” office of
                                                                      Senator Merkley,
                                                                      saying, “We only
                                                                      broke a couple
                                                                      windows.”
Michael Rusyn,         Parading in the         24 mos. probation      Among the first to
21cr303                Capitol                                        enter the Capitol
                                                                      through a certain
                                                                      door, part of a group
                                                                      of people who
                                                                      shouted, “Tell Pelosi
                                                                      we’re coming for that
                                                                      b****,” called police
                                                                      traitors, and shouted
                                                                      “Stop the steal.”
Andrew Hatley,         Parading in the         36 mos. probation      Entered the Capitol
21cr98                 Capitol                                        Building, taking
                                                                      pictures with various
                                                                      historical statues.
Nicholas Reimler,      Parading in the         36 mos. probation      Entered the Capitol
21cr239                Capitol                                        Building, taking
                                                                      pictures of himself
                                                                      and friends.
Caleb Jones, 21cr321   Parading in the         2 mos. home            Entered the Capitol
                       Capitol                 confinement, 24 mos.   Building, “walking
                                               probation              down numerous
                                                                      hallways and into the
                                                                      Capitol Rotunda.”
Anthony R. Mariotto,   Parading in the         36 mos. probation      Entered the Capitol
21cr94                 Capitol                                        Building, posting on
                                                                      Facebook, “This is


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                                                                            our house” under
                                                                            selfie photograph.
 Michael Stepakoff,      Parading in the          12 mos. probation         Entered the Capitol
 21cr96                  Capitol                                            Building, posting on
                                                                            social media after,
                                                                            “The Capitol is OUR
                                                                            house, not theirs.”
 Tanner Sells, 21cr549 Parading in the            24 mos. probation         Entered the Capitol
                       Capitol                                              Building.
 Gary Edwards,         Parading in the            12 mos. probation         Entered the Capitol
 21cr366               Capitol                                              Building, including
                                                                            Senate office S140.
 Zachary, Kelsey         Parading in the          24 mos. probation         Entered the Capitol
 Wilson, 21cr578         Capitol                                            Building, penetrating
                                                                            all the way to the
                                                                            Speaker’s personal
                                                                            office
 Jennifer Parks, Esther Parading in the           24 mos. probation         Entered the Capitol
 Schwemmer, 21cr363 Capitol                                                 Building, taking
                                                                            pictures inside
 Jackson Kostolsky,      Parading in the          36 mos. probation         Entered the Capitol
 21cr197                 Capitol                                            Building
 Eduardo Gonzalez,       Parading in the          24 mos. probation         Entered the Capitol,
 21cr115                 Capitol                                            smoking marijuana
                                                                            inside “multiple
                                                                            times.”
 Israel Tutrow,          Parading in Capitol      36 mos. probation         Entered the Capitol
 21cr310                                                                    Building with a knife

        A sentence of no more than two months’ probation would avoid creating unwarranted

sentence disparities with all the aforementioned defendants.

       C.      The seriousness of the offense and deterrence (§ 3553(a)(2))

       The Court must consider “the need for the sentence imposed . . . to reflect the seriousness

of the offense” and to “afford adequate deterrence to criminal conduct” and to “protect the public

from further crimes of the defendant.” § 3553(a)(2).

       The penalties Griffin has already incurred as a result of this case are more than sufficient

to deter him from ever again entering a restricted area. Griffin was arrested on January 17, 2021.

When his detention hearing was ultimately held on February 1, a Magistrate Judge detained him

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pretrial. Since Griffin was not charged with a felony offense and the government did not appear

to make any risk of flight or witness obstruction argument, it was not clear on what statutory

basis the detention order rested. 18 U.S.C. § 3142(f)(1), (2). In any case, the Magistrate Judge

appeared to base the decision in part on Griffin’s comments concerning China’s possible

influence over the 2020 presidential election. These remarks, the Magistrate Judge found,

showed that Griffin was a danger to society. From January 17 to February 5, Griffin was mostly

held in solitary confinement in the D.C. Jail. The toilet in his cell was broken. Corrections

officers snapped pictures of Griffin in his cell, presumably for use in social media. The

experience was a brutal one for Griffin.

       The media attention brought on by this case has imposed additional penalties. For the

past year, Griffin has regularly received death threats from people calling him a terrorist and

white supremacist. He is frequently accosted in public by angry citizens who threaten violence.

       Then there are the public interest law firms. In the middle of Griffin’s trial, a group of

lawyers announced a quo warranto lawsuit against Griffin in New Mexico. See Lawsuit Filed to

Remove Couy Griffin From Office, CREW, Mar. 21, 2022 (“CREW Press Release”), available at:

https://www.citizensforethics.org/legal-action/lawsuits/lawsuit-filed-to-remove-couy-griffin-

from-office/. The lawsuit was filed by a 501(c)(3) organization called Citizens for Responsibility

and Ethics in Washington (CREW). It alleges that, under Section Three of the Fourteenth

Amendment to the United States Constitution, known as the Disqualification Clause, a provision

created for and unused since the Civil War, the courts must reverse a local election held over 160

years later in which Griffin prevailed. That provision provides:

       No person shall be a Senator or Representative in Congress, or elector of President and
       Vice President, or hold any office, civil or military, under the United States, or under any
       State, who, having previously taken an oath, as a member of Congress, or as an officer of
       the United States, or as a member of any State legislature, or as an executive or judicial


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          officer of any State, to support the Constitution of the United States, shall have engaged
          in insurrection or rebellion against the same, or given aid or comfort to the enemies
          thereof. But Congress may by a vote of two-thirds of each House, remove such disability.

U.S. Const. amend. XIV, § 3.

          The 501(c)(3) organization contends that by walking on the U.S. Capitol steps on January

6, Griffin committed an act akin to an armed conflict that consumed 2% of the country’s

population, which would amount to six million Americans today, i.e., Griffin committed

insurrection or rebel against the U.S. Constitution. Griffin somehow did this, they say, even

though the government could not produce evidence beyond a reasonable doubt that he engaged

in disorderly conduct on January 6. Even if this disqualification effort fails, it will have

seriously drained Griffin’s limited resources as he fights to maintain his office and gainful

employment.

          All of these developments are serious penalties for a misdemeanor conviction and serve

as potent specific and general deterrence. The shame Griffin has experienced is itself a

guarantee of deterrence. See, e.g., United States v. Polizzi, 549 F. Supp. 2d 308, 449 (E.D.N.Y.

2008) (specific deterrence satisfied by “intense shame created by the convictions); United States

v. Maynard, 2020 U.S. Dist. LEXIS 179542, at *5 (E.D.N.Y. Dec. 17, 2012) (Weinstein, J.)

(same).

Conclusion

          For all the foregoing reasons, Griffin respectfully requests a sentence no greater than two

months’ probation.

Dated: June 9, 2022                             Respectfully submitted,

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                                     Certificate of Service
       I hereby certify that on the 9th day of June, 2022, I filed the foregoing submission with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

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       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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